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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

RECO ARMSTEAD, CLIFFORD BRIGGS,                     )
ELLIOT BROOME, and ANDREWSMITH,                     )
Plaintiffs,                                         )
                                                    )
                                                    )
      Plaintiff,                                    ) CIVIL ACTION
                                                    ) CASE NO.: 1:11-CV- 04319-
v.                                                  ) CAP
                                                    )
                                                    )
LAZER SPOT, INC., a domestic limited                )
liability company,

      Defendant.

                     JOINT STIPULATION OF DISMISSAL

      Plaintiffs’ RECO ARMSTEAD, CLIFFORD BRIGGS, ELLIOT BROOME,

and ANDREWSMITH and Defendant Lazer Spot, Inc. (the “Parties”), by and

through their counsel, and pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), file this joint stipulation dismissing this action with prejudice.

      Respectfully submitted this 15th day of November 2013.

                                         By: /s/ Brett C. Bartlett
                                         Brett C. Bartlett, Esq.
                                         Jeffrey Glaser, Esq.
                                         Mark Y. Thacker, Esq.
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                                         Attorneys for Defendant Lazer Spot, Inc.
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                                       -and-


                           By: /s/ C. Ryan Morgan
                           Andrew R. Frisch, Esq.
                           C. Ryan Morgan, Esq.
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                           Attorneys for Plaintiff J’Hon Mainor, et al.




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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


RECO ARMSTEAD, CLIFFORD BRIGGS,                )
ELLIOT BROOME, and ANDREWSMITH,                )
Plaintiffs,                                    )
                                               )
                                               )
                                                 CIVIL ACTION
      Plaintiff,                               )
                                                 CASE NO.: 1:11-CV- 04319-
                                               )
                                                 CAP
v.                                             )
                                               )
                                               )
LAZER SPOT, INC., a domestic limited           )
liability company,

      Defendant.


                                   ORDER

      Having reviewed the Parties’ Joint Stipulation of Dismissal, filed on
__________________, this Court orders the Clerk of Court to dismiss this action
with prejudice and to close this matter.

      SO ORDERED, this _____ day of November, 2013.

                                           ________________________
                                           CHARLES A. PANNELL, JR.
                                           United States District Court Judge




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